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   individual and official capacities as President of
 7 Clovis Community College, Marco J. De La
   Garza, in his individual and official capacities as
 8 Vice President of Student Services at Clovis
   Community College, Gurdeep Hebert, in her
 9 individual capacity and official capacities as
   Dean of Student Services at Clovis Community
10 College; Patrick Stumpf, in his individual and
   official capacities as Senior Program Specialist
11 at Clovis Community College

12

13
                                  UNITED STATES DISTRICT COURT
14
                                 EASTERN DISTRICT OF CALIFORNIA
15

16
     ALEJANDRO FLORES;                                   Case No. 1:22-CV-01003-JLT-HBK
17
     DANIEL FLORES;
18
     JULIETTE COLUNGA; and                               NOTICE OF MOTION AND MOTION TO
19                                                       DISMISS PLAINTIFF’S COMPLAINT
   YOUNG AMERICANS FOR FREEDOM AT
20 CLOVIS COMMUNITY COLLEGE,                             ORAL ARGUMENT REQUESTED

21                 Plaintiffs,
                                                         Date:
22          v.                                           Time:
                                                         Judge:
23 Dr. Lori Bennett, in her individual and official
   capacities as President of Clovis Community
24 College;                                              Complaint Filed: 08/11/2022

25 Marco J. De La Garza, in his individual and
   official capacities as Vice President of Student
26 Services at Clovis Community College;

27 Gurdeep Hebert, in her individual capacity and
   official capacities as Dean of Student Services
28 at Clovis Community College;

           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
                                 PLAINTIFF’S COMPLAINT
     Case 1:22-cv-01003-JLT-HBK Document 15 Filed 09/01/22 Page 2 of 34


 1
   Patrick Stumpf, in his individual and official
 2 capacities as Senior Program Specialist at
   Clovis Community College,
 3
                  Defendants.
 4

 5         TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 6          NOTICE IS HEREBY GIVEN that on the above date and time, or as soon thereafter as the
 7 matter can be heard in in the courtroom of the Honorable Judge Jennifer L. Thurston of the United

 8 States District Court for the Eastern District of California, located at 2500 Tulare St Fresno, CA,

 9 Defendants DR. LORI BENNETT, MARCO J. DE LA GARZA, GURDEEP HEBERT and

10 PATRICK STUMPF will, and hereby do, move for an Order dismissing Plaintiff’s Complaint under

11 Fed. R. Civ. Proc. 12(b)(1) for the lack of subject-matter jurisdiction and Fed. R. Civ. Proc. 12(b)(6)

12 for failure to state a claim.

13          This Motion will be based on this Notice of Motion, the Memorandum of Points and
14 Authorities, Request for Judicial Notice, the pleadings and records on file in this matter, and on any

15 evidence, including oral and documentary evidence, if any, that may be presented at any later point

16 including the hearing on the motion, and any such further matters as the Court deems appropriate.

17

18 Dated: September 1, 2022                                       DeMaria Law Firm, APC
19
20
                                                      By:          /s/ Anthony N. DeMaria
21                                                                   Anthony N. DeMaria
                                                     Attorneys for Defendants, Dr. Lori Bennett, in her
22                                                    individual and official capacities as President of
                                                    Clovis Community College, Marco J. De La Garza,
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                                                       in his individual and official capacities as Vice
24                                                  President of Student Services at Clovis Community
                                                    College, Gurdeep Hebert, in her individual capacity
25                                                  and official capacities as Dean of Student Services
                                                     at Clovis Community College; Patrick Stumpf, in
26                                                     his individual and official capacities as Senior
27                                                   Program Specialist at Clovis Community College

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                                        2
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                         DISMISS PLAINTIFF’S COMPLAINT
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                                  Community College, Gurdeep Hebert, in her
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                                  Dean of Student Services at Clovis Community
                               10 College; Patrick Stumpf, in his individual and
                                  official capacities as Senior Program Specialist
                               11 at Clovis Community College

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                                                                 UNITED STATES DISTRICT COURT
                               14
                                                                EASTERN DISTRICT OF CALIFORNIA
                               15

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                                    ALEJANDRO FLORES;                                   Case No. 1:22-CV-01003-JLT-HBK
                               17
                                    DANIEL FLORES;
                               18
                                    JULIETTE COLUNGA; and                               MEMORANDUM OF POINTS AND
                               19                                                       AUTHORITIES IN SUPPORT OF
                                  YOUNG AMERICANS FOR FREEDOM AT                        MOTION TO DISMISS PLAINTIFF’S
                               20 CLOVIS COMMUNITY COLLEGE,                             COMPLAINT

                               21                 Plaintiffs,
                                                                                        Date:
                               22          v.                                           Time:
                                                                                        Judge:
                               23 Dr. Lori Bennett, in her individual and official
                                  capacities as President of Clovis Community
                               24 College;                                              Complaint Filed: 08/11/2022

                               25 Marco J. De La Garza, in his individual and
                                  official capacities as Vice President of Student
                               26 Services at Clovis Community College;

                               27 Gurdeep Hebert, in her individual capacity and
                                  official capacities as Dean of Student Services
                               28 at Clovis Community College;

                                     DEFENDANT STATE CENTER COMMUNITY COLLEGE DISTRICT’S NOTICE OF MOTION AND MOTION
                                        FOR SUMMARY JUDGMENT OR, IN THE ALTERNATE, SUMMARY ADJUDICATION OF ISSUES
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                                  DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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 DEMARIA LAW FIRM, APC.       1
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                                  Planned Parenthood of S. Nevada, Inc. v. Clark Cnty. Sch. Dist.,
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                                  DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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                                     DEFENDANT STATE CENTER COMMUNITY COLLEGE DISTRICT’S NOTICE OF MOTION AND MOTION
                                        FOR SUMMARY JUDGMENT OR, IN THE ALTERNATE, SUMMARY ADJUDICATION OF ISSUES
                                  Case 1:22-cv-01003-JLT-HBK Document 15 Filed 09/01/22 Page 11 of 34


 DEMARIA LAW FIRM, APC.       1                                          I.INTRODUCTION
    Anthony N. DeMaria
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                              2          In the present case, the Plaintiffs’ Complaint alleges the violation of the Plaintiffs’ First

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                              3 Amendment free speech rights by the Defendants. However, the Plaintiffs failed to demonstrate the
1690 W. Shaw Ave., Ste. 220
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                              5 and Plaintiffs failed to establish standing. In addition to jurisdictional defects, Plaintiffs failed to

                              6 establish all five causes of action regarding prior restrain on speech, viewpoint discrimination,

                              7 overbreadth and vagueness, and viewpoint discrimination by the Defendants in their individual

                              8 capacities.

                              9          Therefore, the Plaintiffs’ Complaint is incurably implausible, speculative, and contains other
                          10 substantial flaws. As explained below, it should be dismissed without leave to amend pursuant to

                          11 Federal Rule of Civil Procedure 12(b)(1) and Federal Rule of Civil Procedure 12(b)(6).

                          12                                          II. FACTUAL BACKGROUND

                          13             Clovis Community College (“The College”) is a site operation name for State Center

                          14 Community College District (“SCCCD”) pursuant to California Education Code § 71000, a public

                          15 entity, which is governed by an elected Board of Trustees, and as such is entitled to create policies

                          16 relating to the postings on the walls within its own instructional building. The College has a non-public

                          17 form on its interior walls which is subject to The Colleges’ posting policies and SCCCD’s AR 5550.

                          18 Outside in there is a free speech kiosk which is not regulated by these policies. This case revolves

                          19 around a few flyers that were temporarily declined because they did not adhere to SCCCD and The

                          20 College’s policy regarding posting material on school property. The College has set guidelines both

                          21 from the school itself and SCCCD, which provide clear instruction on when and how flyers, including

                          22 requiring be related to a student active and club, can be posted and information that the school is not a

                          23 public forum. The College posting policy clearly states how many flyers can be put up by a club or

                          24 individual, where the flyers can be posted, and how the flyers should be posted. The policy also states

                          25 that any flyer that is not approved will be removed. (Dec.of Dr. Lori Bennett “LB” Ex. B; Request for

                          26 Judicial Notice (“RJN”) ¶3). Additionally, SCCCD has its own policy for time, place, and manner

                          27 restriction of speech. In SCCCD’s policy it clearly states that the colleges of the district are non-public

                          28 forums. (Dec.of LB Ex. “A”; RJN ¶3.)

                                                                                    1
                                   DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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 DEMARIA LAW FIRM, APC.       1          This posting policy has been in place, and Plaintiffs utilized the procedure multiple times. (See
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                              2 Dec. of Patrick Stumpf ¶’s 6 and 8, RJN ¶3.) However, on the occasion relating to the pro-life posters

   FRESNO, CA OFFICE
                              3 Plaintiffs failed to comply with the posting policy and were not permitted to post these files in The
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 College’s hallaways, on or about December 1, 2021. (Dec. Gurdeep Herbert “GH”¶10; RJN ¶3.) Later,
    Fax (559) 570-0126

                              5 Platiniffs submitted new pro-life flyers which conformed to the posting policies and were permitted to

                              6 be posted as it connected to a school club activity. (Id. at ¶’s 13-14; RJN ¶.) The areas that Plaitniffs

                              7 sought to use for posting were inside of a school building which classrooms, which are not a free

                              8 speech forums, Plaintiffs were informed of the status of the interior walls and received the explanation

                              9 that the postings would be directly attributable to The College as if it was The College’s own message.

                          10 (Dec. GH Ex. “B”; RJN ¶3.)

                          11             Further, on or around October 29, 2021, Plaintiffs were made aware of the College’s policy

                          12 regarding posting instructions. (Dec. of Patrick Stumpf “PS” Ex. B; RJN ¶3.)On November 8, 2021,

                          13 Plaintiff, Alejandro Flores (Mr. Flores), brought in three flyers that Young Americans for Freedom

                          14 (“YAF”) wanted to post. None of the flyers mentioned the clubs name and none of the posters

                          15 referenced a club event. (Dec. of PS Ex. C; RJN ¶3.) That same day, Patrick Stumpf (“Mr. Stumpf”)

                          16 emailed Mr. Flores and informed him that he needed to put the club name on the flyers and tie the

                          17 flyers back to the local college club. Patrick sent a message to Mr. Flores to let him know he could

                          18 come back and write on the flyers because he did not want to delay them being posted. (Dec. of PS

                          19 Ex. D; RJN ¶3.) Mr. Flores came back into the Student Center and used a marker to write

                          20 “@yaf_CCC” on the posters. Mr. Stumpf approved these flyers and this was the first day of Freedom

                          21 week. (Dec. of PS Ex. D; RJN ¶3.)

                          22             Also on November 8, 2021, Leslie King brought in one of the posters titled “Leftist Ideas

                          23 Progress that Always Leads to Death”, and stated that Lorrie Hopper was contacting legal counsel.

                          24 (Dec. of PS ¶10; RJN ¶3.) Leslie, then sent an email to Defendant, Dr. Lori Bennett, that there may

                          25 be some problems with the “Leftist Ideas” posters, which she attached to the email. Ms. King also

                          26 wrote that people were very uncomfortable, and that one person said that they would file a harassment

                          27 claim if the posters did not come down. Dr. Bennett did not respond to the email and reached out to

                          28 legal counsel for advice. (Dec. of LBEx. “C” ; RJN ¶3.) After a quick investigation it was discovered

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 DEMARIA LAW FIRM, APC.       1 that the social media handle that Mr. Flores had written on the flyers directed people to the national
    Anthony N. DeMaria
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                              2 organization instead of the campus club. (Dec.of PS ¶9; RJN ¶3.)

                              3          On November 9, 2021, Plaintiffs allege several faculty and staff, not acting in their official
   FRESNO, CA OFFICE
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 capcity, removed without consent of The College, some of Plaintiffs’ posters to complaint to the
    Fax (559) 570-0126

                              5 Student Activity Center because they found them offensive and that they had nothing to do with the

                              6 college. (Dec. of PS ¶10; RJN ¶3.) Mr. Flores came into the office and Mr. Stumpf gave him the

                              7 posters that had been taken down by faculty and staff wihtout consent of The College. Further, Mr.

                              8 Stumpf asked Mr. Flores if any of the flyers were missing and Mr. Stumpf told Mr Flores hat he could

                              9 put the flyers back up. (Dec. of PS ¶10; RJN ¶3.)

                          10             On November 14, 2021, Defendant, Gurdeep Hebert (“Ms. Hebert”), emailed Mr. Stumpf that

                          11 per the adminstration the poster were to come down because the flyers were not official club

                          12 announcements. (Dec. of GH ¶9; RJN ¶3.) On November 18, 2021, Ms. Hebert and Dr. Hanson had

                          13 a Zoom meeting to discuss the flyers. During the meeting Ms. Hebert informed Dr. Hanson that the

                          14 reason for the posters coming down was because the club information was not on the posters, and this

                          15 was not a club event. (Dec. of GH ¶10; RJN ¶3.)

                          16             On December 1, 2021, Mr. Flores brought in 7 different anti-abortion flyers that he wanted to

                          17 post. The posters were did not state a club name and a college event for which the club was promoting.

                          18 (Dec. of PS Ex. D.) On December 2, 2021, Ms. Hebert reached out to legal counsel and emailed Mr.

                          19 Flores and informed him that the flyers could be posted in the Free Speech Kiosk. (Dec. of GH ¶11;

                          20 RJN ¶3.) However, once Plaitniffs remedied this the issue for the club name and college event they

                          21 were allowed to post their flyers.

                          22             Furthermore, Plaitniffs’ have named several individuals who were not decision makers in

                          23 creating the SCCCD policy; several of the defendants including Gurdeep Herbert, Patrick Stumpf,

                          24 and Marco De La Garza, did not have any decision making ability when it came to the SCCCD posting

                          25 policy itself. (Dec.of GH ¶4, Delcaration of PS ¶ 4, and Delcaration of MG ¶4 ;RJN ¶3.) These

                          26 individuals were simply functioning as employees attempting to fully comply with the SCCCD policy

                          27 which they were required to abide by, and did so by communicating with counsel to ensure that their

                          28 actions were proper to the best of their ability. (Dec.of GH ¶11 and Dec of MG ¶ 7;RJN ¶3.) For Dr.

                                                                                    3
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 DEMARIA LAW FIRM, APC.       1 Bennett, she contacted general counsel for SCCCD and follow the insturction of General counsel for
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                              2 insturction on following posting on non-public forums in school forums. (Dec.of LB ¶8; RJN ¶3.)

                              3                                          III. ARGUMENT
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1690 W. Shaw Ave., Ste. 220
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 Telephone (559) 206-2410     4      A. PLAINTIFFS HAVE FAILED TO DEMONSTRATE JURISDICTION.
    Fax (559) 570-0126

                              5          Federal Rule pf Civil Procedure12(b)(1) allows a party to bring a motion to challenge the

                              6 Court's subject matter jurisdiction. On a motion to dismiss for lack of subject-matter jurisdiction,

                              7 the Plaintiff bears the burden of demonstrating jurisdiction, and a court does not presume the truth

                              8 of factual allegations pertaining to jurisdiction to hear the case. Fed.Rules Civ.Proc.Rule 12(b)(1),

                              9 28 U.S.C.A.

                          10                When ruling on a challenge to the court's subject matter jurisdiction over a case, a court

                          11 may look beyond the complaint and consider extrinsic evidence. Fed.Rules Civ.Proc.Rule 12(b)(1),

                          12 28 U.S.C.A. Warren v. Fox Fam. Worldwide, Inc., 328 F.3d 1136 (9th Cir. 2003). “ [A] factual

                          13 attack under Rule 12(b)(1) may occur at any stage of the proceedings, and plaintiff bears the burden

                          14 of proof that jurisdiction does in fact exist.’ ” Arena v. Graybar Elec. Co., 669 F.3d 214, 223 (5th

                          15 Cir.2012). Eleventh Amendment of the United States Constitution strips courts of jurisdiction over

                          16 claims against a state that has not consented to suit. U.S.C.A. Const.Amend. 11. Additionally,

                          17 sovereign immunity is a broad jurisdictional doctrine prohibiting suit against the government absent

                          18 the government's consent. Hays v. LaForge, 113 F. Supp. 3d 883, 890 (N.D. Miss. 2015).

                          19          Moreover, the Ninth Circuit held that it is appropriate to address the question of standing in

                          20 deciding a motion to dismiss for lack of subject matter jurisdiction because the elements of standing

                          21 are an indispensable part of the plaintiff's case, and, accordingly, must be supported at each stage of

                          22 litigation in the same manner as any other essential element of the case. Fed.Rules Civ.Proc.Rule

                          23 12(b)(1), 28 U.S.C.A. Warren v. Fox Fam. Worldwide, Inc., 328 F.3d 1136 (9th Cir. 2003).

                          24          1. DEFENDANTS ARE IMMUNE FROM CLAIMS UNDER THE ELEVENTH
                                      AMENDMENT.
                          25          In the given case Defendants Dr. Lori Bennett, the President of Clovis Community College,

                          26 Marco De La Garza, the Vice President of Student Services at Clovis Community College Gurdeep

                          27 Hebert, Dean of Student Services at Clovis Community College, Patrick Stumpf, Senior Program

                          28 Specialist for the Student Activities Office at Clovis Community College, acted only in their official

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 DEMARIA LAW FIRM, APC.       1 capacities in upholding the Clovis Community College and its policies adopted and approved by the
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                              2 Clovis Community College Board of Trustees.

                              3       As was established in Wells v. Bd. of Trustees of California State Univ. State university and its
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 Telephone (559) 206-2410     4 officers, acting in their official capacity, were entitled to Eleventh Amendment immunity from §
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                              5 1983 claims. In Wells former university track coach, who sought monetary relief and punitive

                              6 damages for alleged retaliation based on his exercise of free speech rights. U.S.C.A. Const.Amends.

                              7 1, 11; 42 U.S.C.A. § 1983. The Court held that CSU and its officers acting in their official capacity

                              8 are entitled to Eleventh Amendment immunity from § 1983 actions: “Defendant CSU is an

                              9 instrumentality of the State of California. Jackson v. Hayakawa, 682 F.2d 1344, 1349–50 (9th

                          10 Cir.1982). Thus, CSU and its officers acting in their official capacity are entitled to Eleventh

                          11 Amendment immunity from § 1983 actions.” Wells v. Bd. of Trustees of California State Univ., 393

                          12 F. Supp. 2d 990 (N.D. Cal. 2005).

                          13             Similar to the Wells case, in the instant case all of the defendants were acting in their official

                          14 capacity and attempting to fully effectuate the SCCCD posting policy at The College. Specifically,

                          15 Dr. Lori Benett’s job description as a public employee is, among other things, to ensure compliance

                          16 with policies of the district and implement the procedures that were in place by the Clovis

                          17 Community College Board of Trustees. (Dec.of LB¶2; RJN ¶3.) Further, Dr. Bennett did not author

                          18 AR 5550 which outlines the time, place, and manner restrictions on the campus which are not public

                          19 forums for free speech, but she was required to uphold and effectuate this policy on the campus.

                          20 (Dec.of LB¶’s 2-4; RJN ¶3.) Additionally, Gurdeep Herbert, the Dean of Student Services, similarly

                          21 did not have the authority to unilaterally change The College’s posting policy, as her job duties

                          22 included among other things, a requirement to organize and assist in career development and

                          23 promote student learning on campus, she also did not author SCCCD’s AR 5550. (Dec.of GH ¶’s 3-

                          24 4; RJN ¶ 3.) Mr. Stumpf, Senior Program Specialist for the Student Activities Office, would be

                          25 required to approve or deny the applications for posting so long as they complied with the posting

                          26 policy and AR 5550, which he did not create. (Dec.of PS ¶3-5; RJN ¶ 3.) Finally, Mr. De La Garza,

                          27 Vice President of Student Services, is responsible, among other things, for overseeing student

                          28 instruction and senior leadership on campus; he did not create AR 5550. (Dec.of MG ¶ 3-4; RJN

                                                                                      5
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 DEMARIA LAW FIRM, APC.       1 ¶3.) As in Wells, all of these defendants were working in their official capacity and were not
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                              2 permitted to or vested with the power to change AR 5550, nor did they draft AR 5550, and as such

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                              3 they should be entitled to the same Eleventh Amendment immunity from § 1983 actions as described
1690 W. Shaw Ave., Ste. 220
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 Telephone (559) 206-2410     4 in Wells v. Bd. of Trustees of California State Univ., 393 F. Supp. 2d 990 (N.D. Cal. 2005).
    Fax (559) 570-0126

                              5       2. DEFENDANTS      ACTED ON BEHALF OF THE STATE.

                              6       As described above in Section (III)(A)(1), Defendants in the present case were not final policy

                              7 makers as all SCCCD’s policies(The College is not a separate legal, but in fact branch of

                              8 SCCCD)were adopted and approved by the Board of Trustees. In McMillan v. Monroe County,

                              9 Alabama, 520 U.S. 781 (1997), the Supreme Court articulated the parameters for determining

                          10 whether local governmental officials are final policy makers for the local government, or instead

                          11 represent the State and qualify for Eleventh Amendment Immunity. McMillian v. Monroe Cty., Ala.,

                          12 502 U.S. 781, 785 (1997). Two principles guide the inquiry: (i) “whether governmental officials are

                          13 final policymakers for the local government in a particular area, or on a particular issue,” and (ii)

                          14 “the definition of the official’s functions under relevant state law.” Id. at 785-86. In the

                          15 aforementioned case in determining whether sheriffs act on behalf of the county or the state, the

                          16 Ninth Circuit has focused on whether sheriffs act pursuant to County developed policies, or whether

                          17 the challenged conduct is simply the execution of state law. See, e.g., Cortez v. City of Los Angeles,

                          18 294 F.3d 1186 (9th Cir. 2002).The Ninth Circuit additionally explained in Weiner that, when a

                          19 county official acts on behalf of the State, the real actor is the State.” Weiner v. San Diego Cnty.,

                          20 210 F.3d 1025 (9th Cir. 2000).

                          21          Here, all of the named defendants were simply public employees who were enacting the proper

                          22 time, place, and manner restrictions that were in place pursuant to SCCCD’s AR 5550. None of

                          23 them had the authority to unilaterally overturn this policy, and were actually required to uphold the

                          24 policy as employees of SCCCD. (See, Dec.of LB¶2; Dec.of GH ¶’s 3-4; Dec.of PS ¶3-5; and Dec.of

                          25 MG ¶ 3-4; RJN ¶ 3.) As such, none of these employees were the final policy makes are required

                          26 under the McMillan v. Monroe County, Alabama, 520 U.S. 781 (1997) case, and Plaintiffs’ claim

                          27 lacks subject matter jurisdiction. Therefore, Defendants request that this Court grant this motion to

                          28 dismiss.

                                                                                   6
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 DEMARIA LAW FIRM, APC.       1       4. PUNITIVE DAMAGES ARE UNAVAILABLE AGAINST DEFENDANTS.
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                              2           It is well established that state officials acting in their official capacities are also immune

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                              3 from punitive damages. Will v. Mich. Dep't of State Police, 491 U.S. 58, 71, 109 S.Ct. 2304, 105
1690 W. Shaw Ave., Ste. 220
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 Telephone (559) 206-2410     4 L.Ed.2d 45 (1989); Mitchell v. Dupnik, 75 F.3d 517, 527 (9th Cir.1996).
    Fax (559) 570-0126

                              5      a.            The Individual Defendants Are All Entitled to Qualified Immunity

                              6           Even if this Court determines that Plaintiff’s Complaint does state claims for relief under the
                              7 theories alleged, each of the individual Defendants is entitled to qualified immunity, and for this

                              8 reason the claims against them should be dismissed without leave to amend. Defendants named in

                              9 their individual rather than their official capacities may invoke qualified immunity as a defense.

                          10 Wood v. Strickland, 420 U.S. 308, 318, 95 S. Ct. 992, 43 L. Ed. 2d 214 (1975); Brandon v. Holt,

                          11 469 U.S. 464, 471-73, 105 S. Ct. 873, 83 L. Ed. 2d 878 (1985). The defense of qualified immunity

                          12 protects "governmental officials . . . from liability for civil damages insofar as their conduct does

                          13 not violate clearly established statutory or constitutional rights of which a reasonable person would

                          14 have known." Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct. As noted by the Ninth Circuit in

                          15 Thorsted v. Kelly, 858 F. 2d 571 (9th Cir., 1988), since qualified immunity is an immunity from

                          16 suit, "it is essential that ‘insubstantial claims’ be resolved as quickly as possible." Id. at 575. The

                          17 qualified immunity test is a two-part inquiry. Initially, the Court must decide if the facts alleged

                          18 show the official’s conduct violated a constitutional right and then whether the right was clearly

                          19 established. Saucier v. Katz, 533 U.S. 194, 201, 121 S. Ct. 2151, 150 L. Ed. 2d 272 (2001). As the

                          20 Ninth Circuit noted in Brewster v. Board of Education, 149 F.3d 971, 977 (9th Cir. 1988), “qualified

                          21 immunity provides a protection to government officers that is quite far-reaching. Indeed, it

                          22 safeguards ‘all but the plainly incompetent or those who knowingly violate the law.’” “[I]f officers

                          23 of reasonable competence could disagree on th[e] issue [whether a chosen course of action is

                          24 constitutional], immunity should be recognized.” Id. at 977. Moreover, “[t]he test allows ample

                          25 room for reasonable error on the part of the [governmental official].” Id. The second step of the

                          26 analysis examines the defendant’s awareness. “[T]he relevant, dispositive inquiry in determining

                          27 whether a right is clearly established is whether it would be clear to a reasonable officer that his

                          28 conduct was unlawful in the situation he confronted.” Saucier, 533 U.S. at 202.

                                                                                     7
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 DEMARIA LAW FIRM, APC.       1           In the alternative to the qualified immunity argument, punitive damages in a § 1983 action
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                              2 may be permitted only when the defendant's conduct involves reckless or callous indifference to the

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                              3 plaintiff's federally protected rights, as well as when it is motivated by evil motive or intent. Smith
1690 W. Shaw Ave., Ste. 220
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 Telephone (559) 206-2410     4 v. Wade, 461 U.S. 30, 30, 103 S. Ct. 1625, 1627, 75 L. Ed. 2d 632 (1983).
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                              5           Neither exception is applicable here. The opposition to the punitive damages is more fully

                              6 developed for this issues filed under FRCP 12 file concurrently herewith.

                              7    A. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER EVERY CAUSE OF
                                      ACTION
                              8
                                          Under Federal Rule of Civil Procedure 12(b)(6), a complaint should be dismissed if it fails
                              9
                                  to state a claim upon which relief can be granted. Although a complaint attacked by a motion to
                          10
                                  dismiss does not need “detailed factual allegations,” it must contain “more than labels and
                          11
                                  conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic
                          12
                                  Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal citation omitted). A court should dismiss a
                          13
                                  complaint “if it fails to plead enough facts to state a claim to relief that is plausible on its face.” In
                          14
                                  re Cutera Securities Litig., 610 F.3d 1103, 1107 (9th Cir. 2010) (citation omitted). If a complaint’s
                          15
                                  defects are not curable, the court should dismiss without leave to amend. See Coakley v. Murphy,
                          16
                                  884 F.2d 1218, 1222 (9th Cir. 1989).
                          17
                                          Plaintiffs must allege facts that support the elements of the cause of action in order to make
                          18
                                  out a valid claim; conclusory allegations or legal conclusions masquerading as factual conclusions
                          19
                                  will not suffice to prevent a motion to dismiss for failure to state a claim. Fed.Rules Civ.Proc.Rule
                          20
                                  12(b)(6), 28 U.S.C.A.To state a claim under § 1983, a plaintiff must: (1) allege the violation of a
                          21
                                  right secured by the constitution and laws of the United States, and (2) must show that the alleged
                          22
                                  deprivation was committed by a person acting under color of state law. 42 U.S.C.A. § 1983.
                          23
                                          [A plaintiff's] complaint therefore ‘must contain sufficient factual matter, accepted as true,
                          24
                                  to “state a claim to relief that is plausible on its face.” ’ ” Phillips v. City of Dallas, Tex., 781 F.3d
                          25
                                  772, 775–76 (5th Cir.2015) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173
                          26
                                  L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167
                          27
                                  L.Ed.2d 929 (2007))). A claim is facially plausible when the pleaded factual content “allows the
                          28

                                                                                       8
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 DEMARIA LAW FIRM, APC.       1 court to draw the reasonable inference that the defendant is liable for the misconduct
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                              2 alleged.” Iqbal, 556 U.S. at 678, 129 S.Ct. 1937 (citing Twombly, 550 U.S. at 556, 127 S.Ct. 1955).

   FRESNO, CA OFFICE
                              3 “[P]laintiffs must allege facts that support the elements of the cause of action in order to make out
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 a valid claim.” Webb v. Morella, 522 Fed.Appx. 238, 241 (5th Cir.2013) (per curiam) (quoting City
    Fax (559) 570-0126

                              5 of Clinton, Ark. v. Pilgrim's Pride Corp., 632 F.3d 148, 152–53 (5th Cir.2010) (quotation marks

                              6 omitted)). “[C]onclusory allegations or legal conclusions masquerading as factual conclusions will

                              7 not suffice to prevent a motion to dismiss.” Id. (quoting Fernandez–Montes v. Allied Pilots

                              8 Ass'n, 987 F.2d 278, 284 (5th Cir.1993) (internal quotation marks omitted)). “Dismissal is

                              9 appropriate when the plaintiff has not alleged ‘enough facts to state a claim to relief that is plausible

                          10 on its face’ and has failed to ‘raise a right to relief above the speculative level.’ ” Emesowum v.

                          11 Hous. Police Dep't, 561 Fed.Appx. 372, 372 (5th Cir.2014) (per curiam) (quoting Twombly, 550

                          12 U.S. at 555, 570, 127 S.Ct. 1955).

                          13          1. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER THE FIRST CAUSE
                                  OF ACTION ON THE FACIAL FIRST AMENDMENT CHALLENGE TO THE FLYER
                          14      POLICY REGARDING PRIOR RESTRAINT.
                          15             In the paragraph 119 of the Complaint Plaintiffs allege that Clovis Community College Flyer
                          16 Policy is facially unconstitutional under the First Amendment because it operates as a prior restraint

                          17 on protected student expression. Plaintiffs also allege in Paragraphs 125-128 that they suffered

                          18 irreparable injury as a result of the denial of their const rights (Plaintiffs’ Complaint, ¶18-19).

                          19 However, the “student expression” argument fails for the following reasons. There was not any

                          20 “student expression” since posters did not contain any CCC information. Even if it would be deemed

                          21 that posters constituted “student expression”, it was not protected and was not allowed because no

                          22 forum for free speech was created by the Clovis Community College or by the Defendants.

                          23             Plaintiffs’ argument regarding the prior restraint on posters is without merit, because as
                          24 explained below, the Flyer Policy does not infringe upon their First Amendment rights. Specifically,

                          25 because this is a proper time, place, and manner restriction on the school’s walls which as explained

                          26 in the December 10, 2021 email, the interior walls in the instructional buildings are completely

                          27 controlled by the school and are not public forms. (Dec.of GH ¶12 Exhibit “B”; RJN ¶ .) Moreover,

                          28 as explained to Plaintiffs the reason these interior walls are regulated is because the language and

                                                                                     9
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 DEMARIA LAW FIRM, APC.       1 messages posted would be directly attributable to The College. (Ibid.) The posting policies also does
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                              2 not require permission from the College to engage in constitutionally-protected expression, as the

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                              3 students are provided with free speech kiosk outside for their postings. (Dec.of LB ¶7; RJN ¶; See
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 also, United States v. Frandsen, 212 F.3d 1231, 1236–37 (11th Cir.2000)[Count One is likely to fail
    Fax (559) 570-0126

                              5 because, to the extent that the Ordinance can be said to be a licensing scheme at all,3 it does not act

                              6 as a prior restraint on speech—i.e., it does not require permission from the City to engage in

                              7 constitutionally-protected expression”.] )

                              8          a. The College Internal Walls Are Not Free Speech Forums.

                              9          Plaintiffs’ ability to proceed on their claims depends on whether posters were
                          10      constitutionally protected speech. However, Plaintiffs’ postings were not subject to First

                          11      Amendment protection. The interior walls inside of the building were not designated by The
                                  College or SCCCD as a free speech area. (Dec.of GH ¶12 Exhibit “B”; RJN ¶ .) The purpose of
                          12
                                  the bulletin board was to allow school clubs to promote their events and activities. Further,
                          13
                                  materials that are posted on the bulletin boards outside of the free speech kiosks require prior
                          14      approval because any message they may contain are directly associated with The College and
                          15      SCCCD and are school sponsored speech.
                          16             As was established in Rosenberger: “A school district, like a private owner of property, may

                          17 legally preserve the property under its control for the use to which it is dedicated”. Rosenberger v.
                             Rector and Visitors Of The University of Virginia, 515 U.S. 819, 829, 115 S.Ct. 2510, 132 L.Ed.2d
                          18
                             700 (1995) (citing Lamb's Chapel, 508 U.S. at 390, 113 S.Ct. 2141). As determined in Pleasant
                          19
                             Grove the elementary school lobby and hallway cannot be compared to a public sidewalk or a public
                          20 park, both of which are recognized as public forums traditionally open to all manner of speech.

                          21 Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 129 S.Ct. 1125, 1132, 172 L.Ed.2d 853

                          22 (2009).

                          23             In the present case, the interior walls of the instructional buildings, much like the lobby and
                                  hallways in the Pleasant Grove case, are not public forums for speech as a sidewalk would be
                          24
                                  considered. As such, Clovis Community College and College officials who acted on behalf of the
                          25
                             College retained an ultimate authority regarding the interior walls inside College’s buildings. As
                          26 stated in Hazelwood “School officials could therefore regulate the contents of the paper “in any

                          27 reasonable manner.” Hazelwood, 484 U.S. at 270, 108 S.Ct. at 569. In Planned Parenthood the

                          28 Court analyzing Hazelwood stated the following: “Their intent is most clearly evidenced by written

                                                                                    10
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 DEMARIA LAW FIRM, APC.       1 policies that explicitly reserve the right to control content. Their practices were not inconsistent with
    Anthony N. DeMaria
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                              2 these policies. Like the school board in Hazelwood, the school district here showed an affirmative
                                intent to retain editorial control and responsibility over all publications and advertising disseminated
   FRESNO, CA OFFICE
                              3
1690 W. Shaw Ave., Ste. 220     under the auspices of its schools”. See Planned Parenthood of S. Nevada, Inc. v. Clark Cnty. Sch.
  Fresno, California 93711
 Telephone (559) 206-2410     4
    Fax (559) 570-0126          Dist., 941 F.2d 817 (9th Cir. 1991)
                              5
                                        Therefore, Plaintiffs have failed to assert facts sufficient to sustain their claims as had no
                              6 free speech rights to the interior walls of the buildings on the campus. For this reason, Defendants

                              7 request that this Court dismiss Plaintiff’s Complaint.

                              8     b. Postings on the Interior Walls Of The Instructional Buildings Are Imprimatur To The
                                       College And Must Meet The Requirements Established By The Board Of Trustees For The
                              9        College’s Messages.

                          10              As Hazelwood affirms: “educators do not offend the First Amendment by exercising
                          11 editorial control over the style and content of student speech in school-sponsored expressive

                          12 activities.” Therefore, school officials are allowed to regulate content “in any reasonable manner”
                             Hazelwood, 484 U.S. at 270, 108 S.Ct. at 569.
                          13
                                      In the present case the fact that flyers must be approved and stamped associates them with
                          14
                             CCC as it would be own CCC’s speech. As explained in the December 10, 2021 email, the reason
                          15 these interior walls are regulated is because the language and messages posted would be directly

                          16 attributable to The College. (Dec.of GH ¶12 Exhibit “B”; RJN ¶3.) Further, in the same email, Ms.

                          17 Herbert explained the interior walls in the instructional buildings are completely controlled by the

                          18 school and are not public forms. (Ibid.) Therefore, prior restraint analysis is not applicable, and any
                             censorship case law cited by the Plaintiffs is not applicable since The College has all rights to
                          19
                             approve, edit or deny speech that is or may be perceived as The College’s speech.
                          20

                          21           2. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER THE SECOND
                                  CAUSE OF ACTION ON THE FACIAL FIRST AMENDMENT CHALLENGE TO THE
                          22      FLYER POLICY REGARDING VIEWPOINT DISCRIMINATION.
                                      a. School-sponsored Bulletin Boards Are Not Public Forums.
                          23
                                         In paragraphs 130-134 of the Complaint Plaintiffs allege that The College’s Flyer Policy is
                          24
                                  facially unconstitutional under the First Amendment because it bans speech the government deems
                          25
                                  offensive, the government engages in viewpoint discrimination, and by prohibiting “inappropriate
                          26
                                  or offense language or themes” the Flyer policy facially discriminates on the basis of viewpoint in
                          27
                                  a public forum. (Plaintiffs’ Complaint, ¶20).
                          28

                                                                                    11
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 DEMARIA LAW FIRM, APC.       1          The Second Cause of Action fails for the reasons stated above and for the following reasons.
    Anthony N. DeMaria
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                              2 Plaintiffs mistakenly allege that Flyer Policy “discriminates against their viewpoint in a public

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                              3 forum open to students” (Plaintiffs’ Complaint, ¶4). In support of their position Plaintiffs refer to
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    Fax (559) 570-0126

                              5 However, as was clearly established by Ninth Circuit in Planned Parenthood of Southern Nevada,

                              6 Inc. v. Clark County School Dist. 941 F.2d 817, educators have right to control expressive activity

                              7 in school publications that students, parents and other members of the public might reasonably

                              8 perceive to bear the imprimatur of the school. It was established that school-sponsored newspapers,

                              9 yearbooks and athletic programs, including advertisements, did not constitute a public forum, in

                          10 light of written policies reserving right to control content, and giving school principals broad

                          11 authority to limit advertising which might not serve the best interests of the school or create

                          12 impression that school had endorsed viewpoint in variance with its educational program, and given

                          13 that there was no evidence that advertisements were accepted for a purpose other than to enable the

                          14 school to raise revenue to finance the publications and impart journalistic management skills to the

                          15 students. In other words, educators have right to control expressive activity in school publications

                          16 that students, parents and other members of the public might reasonably perceive to bear the

                          17 imprimatur of the school. See Planned Parenthood: “ School district, by accepting advertisements

                          18 in high school newspapers, yearbooks and athletic programs did not create a limited public forum

                          19 for advertisers of lawful goods and services, but retained right to disapprove of advertisements that

                          20 might carry school-sponsored message to readers of its publications and put school imprimatur on

                          21 one side of a controversial issue. When school-sponsored speech can fairly be characterized as part

                          22 of school's mission, First Amendment affords educators greater control in deciding when school will

                          23 affirmatively promote or lend its name and resources to particular speech.” Planned Parenthood of

                          24 S. Nevada, Inc. v. Clark Cnty. Sch. Dist., 941 F.2d 817 (9th Cir. 1991).

                          25             In Downs v. Los Angeles Unified School Dist the Court rejected Downs's argument that even

                          26 under Hazelwood, a school's restrictions on speech “reasonably related to legitimate pedagogical

                          27 concerns” must still be viewpoint-neutral. The court cited language in Rosenberger v. Rector &

                          28 Visitors of the University of Virginia, 515 U.S. 819, 834, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995),

                                                                                  12
                                   DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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 DEMARIA LAW FIRM, APC.       1 for the proposition that the Supreme Court “appear[ed] to have recognized [that] the traditional
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                              2 discussions of viewpoint discrimination do not fit well into the analysis of a school's decision to

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                              3 prohibit student or teacher speech related to the curriculum.” Downs v. Los Angeles Unified Sch.
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 Telephone (559) 206-2410     4 Dist., 228 F.3d 1003 (9th Cir. 2000). The Court in Downs mentioned citing DiLoreto, 196 F.3d at
    Fax (559) 570-0126

                              5 969 n. 5 :“The Supreme Court has made clear that the question whether the First Amendment

                              6 requires a school to tolerate certain speech, such as the speech of students, is different from the

                              7 question whether the First Amendment requires a school to promote or endorse another's speech.”

                              8         In Hazelwood, a high school principal removed from a school newspaper two pages

                              9 containing an article describing some of the school's students' experiences with pregnancy and an

                          10 article discussing the impact of divorce on a number of the school's students. 484 U.S. at 263, 108

                          11 S.Ct. 562. After concluding that the school newspaper was a nonpublic forum, the Court determined

                          12 that school officials could regulate the newspaper's contents in “any reasonable manner.” Id. at 270,

                          13 108 S.Ct. 562.

                          14            Pursuant to this analysis, the Hazelwood Court declared that a school may “disassociate itself

                          15 ... from speech that is, for example, ungrammatical, poorly written, inadequately researched, biased

                          16 or prejudiced, vulgar or profane, or unsuitable for immature audiences.” Id. (internal quotations and

                          17 citations omitted). In addition, schools retain the authority to refuse to sponsor student speech that

                          18 might reasonably be perceived to advocate drug or alcohol use, irresponsible sex, or conduct

                          19 otherwise inconsistent with the shared values of a civilized social order, or to associate the school

                          20 with any position other than neutrality on matters of political controversy. Moreover, in Downs the

                          21 Court held when the school district speaks through bulletin boards that are not “free speech zones,”

                          22 but instead are vehicles for conveying a message from the school district, the school district may

                          23 formulate that message without the constraint of viewpoint neutrality.

                          24            Moreover, the Ninth Circuit Court in Planned Parenthood of S. Nevada, Inc. v. Clark Cnty.

                          25 Sch. D held: “We therefore agree with the district court that the school district's policy of not

                          26 publishing advertisements that are “controversial, offensive to some groups of persons, that cause

                          27 tension and anxiety between teachers and parents, and between competing groups such as [Planned

                          28 Parenthood] and pro-life forces” is a reasonable one. Because of the possible perception of

                                                                                  13
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 DEMARIA LAW FIRM, APC.       1 sponsorship and endorsement, schools within the district could choose to maintain a position of
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                              2 neutrality on a matter of political controversy and not lend their name and resources to Planned

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                              3 Parenthood's advertisements”. (Planned Parenthood of S. Nevada, Inc. v. Clark Cnty. Sch. Dist.,
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  Fresno, California 93711
 Telephone (559) 206-2410     4 941 F.2d 817 (9th Cir. 1991); see also United States v. Kokinda, 497 U.S. 720, 110 S.Ct. 3115, 3121,
    Fax (559) 570-0126

                              5 111 L.Ed.2d 571 (1990) (plurality), [four Justices concluded that a sidewalk leading from a parking

                              6 lot to a post office was a nonpublic forum.])

                              7         The Court mentioned that exclusion of Planned Parenthood's advertisements serves the goal

                              8 of preserving the schools' editorial control over school-sponsored publications and preventing the

                              9 advertising sections of those publications from becoming a forum for debate on family planning.

                          10 The school district and individual school principals could reasonably choose to have the family

                          11 planning debate take place in the classroom rather than in the advertising pages of its school-

                          12 sponsored publications.

                          13            In the present case, Plaintiffs did not have any First Amendment rights in connection with

                          14 postings on College Bulletin Boards. However, as Plaintiffs were advised in the explanation email

                          15 from the Defendant Hebert sent on December 10, 2021, the Free Speech Zones were available at

                          16 The College and no prior approval was required to post on these kiosks. (Dec.of GH ¶12 Exhibit

                          17 “B”; RJN ¶ .) Further, much like in the Hazelwood case and the Planned Parenthood case, the

                          18 postings on the interior walls are seen as being directly attributable to The College and as such these

                          19 interior walls are properly subject to time, place, and manner restrictions to prevent The College

                          20 from being forced to adopt any positions that are posted on it interior walls. It should be noted that

                          21 there were alternative channels of expression that were provided on campus which were

                          22 unregulated, and as the First amendment does not guarantee the right to communicate a person’s

                          23 views at all times or where they may desire. (see Collins v. Putt, 979 F.3d 128, 135 (2d Cir.

                          24 2020), cert. denied, 141 S. Ct. 1465, 209 L. Ed. 2d 181 (2021).) As such, Plaintiffs do not have a

                          25 free speech right to post these flyers on the interior walls of The College’s buildings, and Defendants

                          26 properly and fairly executed the policies which they were required to follow as part of their

                          27 employment with SCCCD.

                          28            b. Defendants As Educators Have Control Over Postings Attributable To School.

                                                                                  14
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 DEMARIA LAW FIRM, APC.       1
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                                         Plaintiffs argue multiple times in their Complaint that Defendants allegedly “fabricated a
                              2
                                  pretext” to explain the removal of the “Leftist” posters and explain the rejection of the “Pro-life”
                              3
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                                  posters. To address this allegation, we must state that Defendants were not required by law to give
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 Telephone (559) 206-2410     4 any justification to the Plaintiffs on why the flyers were removed although they provided one of the
    Fax (559) 570-0126

                              5 reasons which was not pretextual. Defendant’s Hebert email to the Plaintiff Alejandro Flores stated

                           6 College’s position with regard to the bulletin boards where only club announcements were allowed
                             for posting.(Dec.of GH ¶12 Exhibit “B”; RJN ¶.) Nowhere in The College’s policies is stated that
                           7
                             the internal campus walls may be used to promote anyone’s viewpoint. Within the scope of their
                           8
                             professional duties Defendants were required to make sure that The College’s legitimate interest in
                           9
                             maintaining viewpoint neutrality and not associate The College with any particular viewpoint is
                          10 upheld. When in the course of the Defendants’ further legitimate inquiry into the appropriateness of

                          11 the Plaintiffs’ flyers and its compatibility with The College’s policies it appeared that numerous

                          12 policy violations were found it was entirely within the scope of Defendants authority to legally
                             remove the flyers not to associate the The College’ with the particular viewpoint or even prevent
                          13
                             the appearance of such association.
                          14
                                     Moreover, flyers that Defendants submitted as exhibits clearly show the address of the
                          15
                             outside organization and its website. CCC had no policy offering its internal bulletin boards to the
                          16
                             outside organizations. When Defendants correctly determined that flyers do not in any way relate to
                          17
                             the CCC they were legitimately taken down. The same explanation and analysis is applicable to the
                          18
                             legality of Defendants’ rejection of the Pro-life flyers.
                          19
                                     As was stated previously “school district, like a private owner of property, may legally
                          20
                             preserve the property under its control for the use to which it is dedicated. (Rosenberger v. Rector
                          21
                             and Visitors Of The University of Virginia, 515 U.S. 819, 829, 115 S.Ct. 2510, 132 L.Ed.2d 700
                          22
                             (1995) (citing Lamb's Chapel, 508 U.S. at 390, 113 S.Ct. 2141).)
                          23
                                     Here, Plaintiffs recognize in the Complaint that all posters must be approved and stamped
                          24 by the CCC Student Center Staff (Plaintiffs’ Complaint, ¶10). Therefore, as cited above in

                          25 Hazelwood, college officials had the right to decide if the school “will affirmatively “promote” or

                          26 “lend its name and resources” to particular speech. school.” Hazelwood, 484 U.S. at 271–72, 108

                          27 S.Ct. at 570–71. As stated in Cornelius: “Although the avoidance of controversy is not a valid
                             ground for restricting speech in a public forum, a nonpublic forum by definition is not dedicated to
                          28

                                                                                   15
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 DEMARIA LAW FIRM, APC.       1 general ebate or the free exchange of ideas.” (Cornelius, 473 U.S. at 811, 105 S.Ct. at 3453; cf.
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                              2 Lehman v. City of Shaker Heights, 418 U.S. 298, 304, 94 S.Ct. 2714, 2717, 41 L.Ed.2d 770 (1974).)
                                As such, were required to exercise their control on the postings on the interior walls of the school
   FRESNO, CA OFFICE
                              3
1690 W. Shaw Ave., Ste. 220     as required by the posting policy and AR 5550, as such Plaintiffs did not have a free speech right to
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 Telephone (559) 206-2410     4
    Fax (559) 570-0126          these interior walls.
                              5

                              6 3. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER THE THIRD CAUSE OF ACTION ON THE
                                  FACIAL FIRST AMENDMENT CHALLENGE TO THE FLYER POLICY REGARDING THE
                                  OVERBREADTH.
                              7

                              8          In paragraphs 145-146 of the Complaint Plaintiffs allege that Clovis Community College
                                  Flyer Policy is facially unconstitutional under the First Amendment because of the substantial
                              9
                                  number on unconstitutional applications of the Policy and reasoning that any flyer can be deemed
                          10
                                  offensive by adherence to the opposing view. In responding to this allegation, we must state, first,
                          11 that Plaintiffs failed to plead in its entirety that Defendants allegedly adhered to the opposing views.

                          12 In addition, this Cause of Action fails for the following reasons.

                          13              a.   Plaintiffs’ conduct was not constitutionally protected.

                          14             As was established in previous challenges regarding to government policy in relation to
                          15 overbreadth: “Cause of action is likely to fail because the Ordinance does not reach constitutionally

                          16 protected conduct. See Bama Tomato Co. v. U.S. Dep't of Agric., 112 F.3d 1542, 1546 (11th
                             Cir.1997) (“In a facial challenge to the overbreadth ... of a law, a court's first task is to determine
                          17
                             whether the enactment reaches a substantial amount of constitutionally protected conduct” and “[i]f
                          18
                             it does not, then the overbreadth challenge must fail” (quoting Vill. of Hoffman Estates v. Flipside,
                          19 Hoffman Estates, Inc., 455 U.S. 489, 494, 102 S.Ct. 1186, 1191, 71 L.Ed.2d 362 (1982))).

                          20             Plaintiffs did not have any First Amendment rights in connection with postings on College
                          21 Bulletin Boards. However, as Plaintiffs were advised in the explanation email from the Defendant

                          22 Hebert sent on December 10, 2021, the Free Speech Zones were available at The College and no
                             prior approval was required to post on these kiosks.(Dec.of GH ¶12 Exhibit “B”; RJN ¶ .) Further,
                          23
                             much like in the Hazelwood case and the Planned Parenthood case, the postings on the interior
                          24
                             walls are seen as being directly attributable to The College and as such these interior walls are
                          25 properly subject to time, place, and manner restrictions to prevent The College from being forced to

                          26 adopt any positions that are posted on it interior walls. Therefore, Plaintiffs’ conduct in this case

                          27 was not constitutionally protected, therefore the Third Cause of action fails against all Defendants.
                                  4. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER THE FOURTH CAUSE OF ACTION ON
                          28      THE FACIAL FIRST AMENDMENT CHALLENGE TO THE FLYER POLICY REGARDING

                                                                                   16
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 DEMARIA LAW FIRM, APC.       1   VAGUENESS
    Anthony N. DeMaria                    a. Plaintiffs Have Failed To State A Claim For Violation Of The Due Process Clause.
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                              2          In the Fourth Cause of Action Plaintiffs allege that the Flyer Policy is void for vagueness

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                              3 and that Plaintiffs allegedly were denied due process. A vagueness challenge is available only when
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 Telephone (559) 206-2410     4 the plaintiff “alleges a constitutional harm.” Indigo Room, Inc. v. City of Fort Myers, 710 F.3d 1294,
    Fax (559) 570-0126
                                1301 (11th Cir.2013) . The plaintiff must either have been prosecuted for violating the challenged
                              5
                                rule or have been “chilled from engaging in constitutionally protected activity.” Id. The plaintiff has
                              6
                                not been prosecuted, and the defendants assert the plaintiff “has not been deprived of [its]
                              7 constitutionally protected free speech interest.”

                              8          “The Fourteenth Amendment prohibits States and their components from depriving any
                              9 person of life, liberty, or property, without due process of law.” Bankshot Billiards, Inc. v. City of

                          10 Ocala, *1301 Fla., 634 F.3d 1340, 1349 (11th Cir.2011) (internal quotation marks omitted). Due
                             process encompasses the concepts of notice and fair warning, and at its core is the principle “that
                          11
                             no man shall be held criminally responsible for conduct which he could not reasonably understand
                          12
                             to be proscribed.” (Id.) The court “review[s] statutes for vagueness concerns only when a litigant
                          13 alleges a constitutional harm.” Bankshot Billiards, 634 F.3d at 1349. These harms come in two

                          14 forms. “In the first form, a person violates the vague law, is indicted, and then moves the trial court

                          15 to dismiss the indictment ... arguing that he did not receive notice that his conduct was proscribed.”4

                          16 Id. The constitutional harm in this context is “the deprivation of liberty.” Id. at 1349–50. The second
                             form is implicated when a litigant asks the court to review a vague statute before it is enforced. Id.
                          17
                             at 1350. Such claims are reviewed because “the litigant is chilled from engaging in constitutionally
                          18
                             protected activity.” Id. Thus, the second type of vagueness challenge “provides law-abiding citizens
                          19 with a middle-road between facing prosecution and refraining from otherwise constitutional

                          20 conduct.” Id.

                          21             As previously described, Plaintiffs did not have a right of expression on these interior walls

                          22 as they have suggested. Instead, they were advised that these interior walls require specific posting
                             instructions, and the purpose would be to allow for clubs to promote their activities and would
                          23
                             require approval because any statements would be directly attributed to The College. (Dec.of GH
                          24
                             ¶12 Exhibit “B”; RJN ¶3 .) Therefore, this policy is clear and sets for the proper criteria that would
                          25 allow a reasonable person to understand the specific parameters to postings on the interior walls,

                          26 which in fact the Plaintiffs are well aware of given the denial of their posters on or about December

                          27 1, 2021. (Dec. GH ¶10; RJN ¶3), which similar posters were later, approved with the same content,

                          28 which conformed to the posting policies and were permitted to be posted as it connected to a school

                                                                                   17
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 DEMARIA LAW FIRM, APC.       1 club activity. (Id. at ¶’s 13-14; RJN ¶.3) This instance shows, that Plaintiffs were able to determines
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                              2 the requirements of the policy and meet all of the necessary postings demonstrating that this policy is
                                not vague.
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                              3
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 5. PLAINTIFFS HAVE FAILED TO STATE A CLAIM UNDER THE FIFTH CAUSE OF ACTION ON THE
    Fax (559) 570-0126
                                   FACIAL FIRST AMENDMENT CHALLENGE TO THE FLYER POLICY REGARDING VIEWPOINT
                              5    DISCRIMINATION AGAINST DEFENDANTS IN THEIR INDIVIDUAL CAPACITIES.

                              6
                                         In the Fifth Cause of Action Plaintiff allege that Defendants were engaged in knowing and
                              7
                                  willful violation of their First Amendment rights. However, as explained above, the First
                              8
                                  Amendment protection was not warranted in this case. In addition, as previously argued, qualified
                              9
                                  immunity shields government officials performing discretionary functions from personal-capacity
                          10
                                  liability for civil damages under § 1983, insofar as their conduct does not violate clearly established
                          11
                                  statutory or constitutional rights of which a reasonable person would have known. 42 U.S.C.A. §
                          12
                                  1983.Rock for Life-UMBC v. Hrabowski, 643 F. Supp. 2d 729 (D. Md. 2009), aff'd, 411 F. App'x
                          13
                                  541 (4th Cir. 2010)
                          14
                                         The relevant inquiry is whether the defendants reasonably could have believed that their
                          15
                                  conduct was lawful “in light of clearly established law and the information [that they] possessed.”
                          16
                                  Baker v. Racansky, 887 F.2d 183, 187 (9th Cir.1989) (internal quotations omitted). For a right to be
                          17
                                  clearly established, it must be “ ‘sufficiently clear that a reasonable official would understand that
                          18
                                  what he is doing violates that right.... [I]n the light of pre-existing law the unlawfulness must be
                          19
                                  apparent.’ ” Id. at 186 (quoting Anderson, 483 U.S. at 639–640, 107 S.Ct. at 3039). It is the plaintiff's
                          20
                                  burden to prove that the right that the defendants violated was clearly established at the time of the
                          21
                                  alleged misconduct. Id. In the present case, Plaintiffs did not prove any of these. Instead, all of the
                          22
                                  named defendants were simply public employees who were enacting the proper time, place, and
                          23
                                  manner restrictions that were in place pursuant to SCCCD’s AR 5550. None of them had the
                          24
                                  authority to unilaterally overturn this policy, and were actually required to uphold the policy as
                          25
                                  employees of SCCCD. (See, Dec.of LB¶2; Dec.of GH ¶’s 3-4; Dec.of PS ¶3-5; and Dec.of MG ¶ 3-
                          26
                                  4; RJN ¶ 3.) As such, Plaintiffs have failed to meet their burden to demonstrate that Defendants, and
                          27
                                  each of them discriminated against Plaintiffs based on Plaintiffs’ viewpoint.
                          28

                                                                                     18
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 DEMARIA LAW FIRM, APC.       1                  B. PLAINTIFFS HAVE FAILED TO ESTABLISH STANDING.
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                              2      To establish Article III standing, an injury must be concrete, particularized, and actual or

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                              3 imminent, fairly traceable to the challenged action, and redressable by a favorable ruling. U.S.C.A.
1690 W. Shaw Ave., Ste. 220
  Fresno, California 93711
 Telephone (559) 206-2410     4 Const. Art. 3, § 1 et seq. The three requirements for Article III standing are: first, the plaintiff must
    Fax (559) 570-0126

                              5 have suffered an injury in fact; second, he must show a causal relationship between the injury and

                              6 the challenged conduct; and third, there must be a likelihood that his injury will be redressed by a

                              7 favorable decision from the court. U.S.C.A. Const.Art. 3, § 2. Mortensen v. Cnty. of Sacramento,

                              8 368 F.3d 1082 (9th Cir. 2004).

                              9      In order to have Article III standing for a preenforcement challenge to an allegedly

                          10 unconstitutional statute, a plaintiff must show that he is under threat of suffering an injury in fact; it

                          11 is not necessary that the plaintiff first expose himself to actual arrest or prosecution to be entitled to

                          12 challenge the statute that he claims deters the exercise of his constitutional rights, but the plaintiff

                          13 must plead, and prove in later stages of litigation, an intention to engage in a course of conduct

                          14 arguably affected with a constitutional interest, but proscribed by a statute, and that there exists a

                          15 credible threat of prosecution thereunder. U.S.C.A. Const. Art. 3, § 1 et seq.

                          16         For Plaintiffs seeking declaratory and injunctive relief it is insufficient to demonstrate that they

                          17 were injured in past to meet injury in fact requirement for federal standing under Article 3 of

                          18 Constitution; instead, plaintiff had to show very significant possibility of future harm to have

                          19 standing. Bras v. California Pub. Utilities Comm'n, 59 F.3d 869 (9th Cir. 1995).

                          20         1. PLAINTIFFS HAVE FAILED TO ESTABLISH INJURY-IN-FACT SUFFICIENT TO
                                      SUPPORT STANDING.
                          21             To establish Article III standing, Plaintiffs in this case must have demonstrated: (1) an
                          22 “actual or imminent,” “concrete and particularized” injury-in-fact, (2) a “causal connection between

                          23 the injury” and the challenged action, and (3) a likelihood that the “injury will be redressed by a

                          24 favorable decision.” Lujan, 504 U.S. at 560-61. “Three elements form the ‘“irreducible

                          25 constitutional minimum” of standing’ to file suit in federal court.” Ctr. for Biological Diversity v.

                          26 Mattis, 868 F.3d 803, 816 (9th Cir. 2017) (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338

                          27 (2016)). “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

                          28 challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

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                                   DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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 DEMARIA LAW FIRM, APC.       1 decision.” Id. (quoting Spokeo, 578 U.S. at 338). “The injury in fact must constitute ‘an invasion of
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                              2 a legally protected interest which is (a) concrete and particularized, and (b) actual or imminent, not

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                              3 conjectural or hypothetical.’” Lopez v. Candaele, 630 F.3d 775, 785 (9th Cir. 2010) (quoting Lujan,
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 Telephone (559) 206-2410     4 504 U.S. at 560).In addition, for Plaintiffs seeking declaratory and injunctive relief it is insufficient
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                              5 to demonstrate that they were injured in past to meet injury in fact requirement for federal standing

                              6 under Article 3 of Constitution; instead, plaintiff had to show very significant possibility of future

                              7 harm to have standing. Bras v. California Pub. Utilities Comm'n, 59 F.3d 869 (9th Cir. 1995).

                              8          In the present case Plaintiffs allege that they suffered irreparable injury as a result of the

                              9 denial of their constitutional rights. However, they, first, failed to plead a concrete and particularized

                          10 injury, second, they did not show very significant possibility of future harm, and, third, Plaintiffs

                          11 did not show their interest was constitutionally protected.

                          12             Moreover, in their Complaint Plaintiffs acknowledge that they regularly receive materials

                          13 from the National Young America Foundation “for campus display” (Plaintiffs’ Complaint, ¶9).

                          14 Posters Plaintiffs presented for display, both “Leftist” and “Pro-life” did not contain any reference

                          15 to the Clovis Community College as was required. Instead, posters contained the website and

                          16 address of the headquarters of the National YAF organization which was not a recognized club at

                          17 Clovis Community College. (Dec. GH ¶10; RJN ¶3.)

                          18          Moreover, on the later occasions, when Plaintiffs sought approval of the posters with the The

                          19 College club logo and name on them, posters were approved. (Id. at ¶’s 13-14; RJN ¶.) This shows

                          20 that if Plaintiffs comply with the policy and do not submit outside materials for approval they did

                          21 not and are not going to suffer any injury to their alleged rights. However, in this case, their activity

                          22 of posting flyers not bearing the relation to the College Club on the College walls, was not

                          23 constitutionally protected as additionally explained below.

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                                                                              IV. CONCLUSION
                          25
                                         The Plaintiffs’ Complaint is incurably implausible and speculative, and contains other
                          26
                                  substantial flaws. Defendants respectfully request it be dismissed without leave to amend pursuant
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                                  to Federal Rule of Civil Procedure 12(b)(1) and Federal Rule of Civil Procedure 12(b)(6).
                          28

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                                   DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
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                              5                                                            Anthony N. DeMaria
                                                                           Attorneys for Defendants, Dr. Lori Bennett, in her
                              6                                             individual and official capacities as President of
                                                                          Clovis Community College, Marco J. De La Garza,
                              7                                              in his individual and official capacities as Vice
                              8                                           President of Student Services at Clovis Community
                                                                          College, Gurdeep Hebert, in her individual capacity
                              9                                           and official capacities as Dean of Student Services
                                                                           at Clovis Community College; Patrick Stumpf, in
                          10                                                 his individual and official capacities as Senior
                                                                           Program Specialist at Clovis Community College
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                                   DEFENDANTS’ JOINT REPLY TO PLAINTIFFS’ OPPOSITION TO JOINT MOTION TO STAY ENTIRE CASE
                                  Case 1:22-cv-01003-JLT-HBK Document 15 Filed 09/01/22 Page 32 of 34


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                              6 Attorneys for Defendants,

                              7
                                                            UNITED STATES DISTRICT COURT
                              8
                                                            EASTERN DISTRICT OF CALIFORNIA
                              9

                          10
                             ALEJANDRO FLORES; DANIEL FLORES;                Case No.: 1:22-cv-01003-JTL-HBK
                          11 JULIETTE COLUNGA; and YOUNG
                             AMERICANS FOR FREEDOM AT CLOVIS                 REQUEST FOR JUDICIAL NOTICE IN
                          12 COMMUNITY COLLEGE,                              SUPPORT OF DEFENDANTS’ MOTION
                                                                             TO DISMISS PLAINTIFF’S COMPLAINT
                          13 Plaintiffs,
                                                                             Date: September 23, 2021
                          14            v.                                   Time: 9:00A.M.
                                                                             Judge: The Honorable Jennifer L. Thurston
                          15 DR. LORI BENNETT, in her individual and
                             official capacities as President of Clovis
                          16 Community College; MARCO J. DE LA
                             GARZA, in his individual
                          17 and official capacities as Vice President of
                             Student Services at Clovis Community
                          18 College; GURDEEP HÉBERT, in her
                             individual and official capacities as Dean of
                          19 Student Services at Clovis Community
                             College; and PATRICK STUMPF, in his
                          20 individual and official capacities as Senior
                             Program Specialist at Clovis Community
                          21 College,

                          22 Defendants.

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                                   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                                                       COMPLAINT
                                  Case 1:22-cv-01003-JLT-HBK Document 15 Filed 09/01/22 Page 33 of 34


 DEMARIA LAW FIRM, APC.       1
    Anthony N. DeMaria                   COMES NOW, Defendants, Dr. Lori Bennett, Patrick Stumpf, Marco De La Garza, and
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                              2
                                  Gurdeep Hebert (“Defendants”) , and hereby requests this Court take judicial notice, pursuant to
                              3
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                              4
    Fax (559) 570-0126                   Federal Rule of Evidence 201 specifically provides that judicial notice may be taken where
                              5
                                  “a fact that is not subject to reasonable dispute because it … (2) can be accurately and readily
                              6
                                  determined from sources whose accuracy cannot reasonably be questioned.” (FRE 201(b)(2).)
                              7
                                         The instant request is made with respect to specific records of this Court. Thus, the
                              8
                                  correctness of the following documents are not reasonably subject to dispute and can be immediately
                              9
                                  and accurately determined by the review of the Court’s own records:
                          10
                                         1.     Plaintiff’s Complaint for the case entitled Alejandro Flores; Daniel Flores; Juliette
                          11
                                  Colunga; and Young Americans For Freedom at Clovis Community Collegev. Dr. Lori Bennett;
                          12
                                  Marco J. De La Garza; Gurdeep Hebert; and Patrick Stumpf, United States District Court Eastern
                          13
                                  District of California Case. No. 1:22-cv-01003-JLT-HBK, filed on or about August 11, 2021, which
                          14
                                  remains the operative Complaint in this matter.
                          15
                                         2.     Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction for the case
                          16
                                  entitled Alejandro Flores; Daniel Flores; Juliette Colunga; and Young Americans For Freedom at
                          17
                                  Clovis Community Collegev. Dr. Lori Bennett; Marco J. De La Garza; Gurdeep Hebert; and Patrick
                          18
                                  Stumpf, United States District Court Eastern District of California Case. No. 1:22-cv-01003-JLT-
                          19
                                  HBK, filed on or about September 1, 2021, and all supporting documents.
                          20
                                         3.     Defendants’ 12(b)(6) Motion for the case entitled Alejandro Flores; Daniel Flores;
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                                  Juliette Colunga; and Young Americans For Freedom at Clovis Community Collegev. Dr. Lori
                          22
                                  Bennett; Marco J. De La Garza; Gurdeep Hebert; and Patrick Stumpf, United States District Court
                          23
                                  Eastern District of California Case. No. 1:22-cv-01003-JLT-HBK, filed on or about September 1,
                          24
                                  2021, and all supporting documents.
                          25
                                         4.     Defendants’ 12(4) Motion for the case entitled Alejandro Flores; Daniel Flores;
                          26
                                  Juliette Colunga; and Young Americans For Freedom at Clovis Community Collegev. Dr. Lori
                          27
                                  Bennett; Marco J. De La Garza; Gurdeep Hebert; and Patrick Stumpf, United States District Court
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                                   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                                                       COMPLAINT
                                  Case 1:22-cv-01003-JLT-HBK Document 15 Filed 09/01/22 Page 34 of 34


 DEMARIA LAW FIRM, APC.       1 Eastern District of California Case. No. 1:22-cv-01003-JLT-HBK, filed on or about September 1,
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                              2 2021, and all supporting documents.

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                              5 Dated: September 1, 2022                                 DeMaria Law Firm, APC
                              6

                              7
                                                                              By:        /s/ Anthony N. DeMaria
                              8                                                            Anthony N. DeMaria
                                                                                             Jordan S. Scrivner
                              9                                                          Attorneys for Defendants,
                                                                                     Dr. Lori Bennett, Patrick Stumpf,
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                                                                                 Gurdeep Hebert, and Marco J. De La Garza
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                                   REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                                                                       COMPLAINT
